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 5   Attorney for Plaintiffs DISH Network
     L.L.C., EchoStar Technologies L.L.C.,
 6   and NagraStar LLC
 7

 8
                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
10

11   DISH NETWORK L.L.C.,                        Case No. 2:16-cv-03488
     ECHOSTAR TECHNOLOGIES
12
     L.L.C., and NAGRASTAR LLC,                  PLAINTIFFS’ NOTICE OF
                                                 INTERESTED PARTIES
13
                   Plaintiffs,
14
            v.
15
     NATHAN FINEMAN,
16
                   Defendant.
17

18         In accordance with Federal Rule of Civil Procedure 7.1 and L.R. 7.1-1, the
19   undersigned, counsel of record for Plaintiffs DISH Network L.L.C., EchoStar
20   Technologies L.L.C., and NagraStar LLC, certifies that the following listed parties
21   may have a pecuniary interest in the outcome of this case. These representations are
22   made to enable the Court to evaluate possible disqualification or recusal.
23         1.     Plaintiff DISH Network L.L.C. is a Colorado limited liability company
24   with its principal place of business located at 9601 South Meridian Blvd.,
25   Englewood, Colorado 80112. Plaintiff DISH Network L.L.C.’s sole member is DISH
26   DBS Corporation, which is wholly owned by DISH Orbital Corporation. DISH
27   Orbital Corporation is wholly owned by DISH Network Corporation, which is
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 1   publicly owned and traded on the NASDAQ national market under the symbol
 2   “DISH.”
 3         2.    Plaintiff EchoStar Technologies L.L.C. is a Texas limited liability
 4   company with its principal place of business located at 90 Inverness Circle East,
 5   Englewood, Colorado 80112. Plaintiff EchoStar Technologies L.L.C.’s sole member
 6   is EchoStar Corporation. EchoStar Corporation is publicly owned and traded on the
 7   NASDAQ national market under the symbol “SATS.”
 8         3.    Plaintiff NagraStar LLC is a Colorado limited liability company with its
 9   principal place of business located at 90 Inverness Circle East, Englewood, Colorado
10   80112. Plaintiff NagraStar LLC’s members are EchoStar Corporation, identified
11   above, and Nagra USA, Inc. Nagra USA, Inc. is wholly owned by Kudelski SA, a
12   Swiss company listed on the SIX Swiss Exchange under the symbol “KUD.”
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14   Dated: May 19, 2016
15                                   Respectfully submitted,
16

17                              By: /s/ Timothy M. Frank
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22                                   Attorney for Plaintiffs DISH Network
                                     L.L.C., EchoStar Technologies L.L.C.,
23                                   and NagraStar LLC
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